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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  VICTOR ANDREWS, on behalf of himself   MEMORANDUM and ORDER
  and all others similarly situated,
                                         17-CV-767
  Plaintiff,

  – against –


  BLICK ART MATERIALS, LLC,

  Defendant.



          Parties                               Appearances

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 JACK B. WEINSTEIN, Senior United States District Judge:

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              I.          Introduction

        Equal opportunity for the disadvantaged—so far as practicable—has been a major goal of

 the United States since World War II. This case deals with one aspect of that struggle—

 providing the visually impaired with an effective opportunity to use the internet for procuring

 consumer products. See Andrews v. Blick Art Materials, LLC, No. 17-CV-767, 2017 WL

 3278898, -- F.Supp.3d -- (E.D.N.Y. Aug. 1, 2017) (“Andrews I”).

        There has been a cascade of litigation over the past several years, with at least 750

 lawsuits, concerning access to the internet by visually impaired individuals. Vivian Wang,

 College Websites Must Accommodate Disabled Students, Lawsuits Say, N.Y. Times, Oct. 11,

 2017 at A20. Sitting at the intersection of technology and disability, these cases, including the

 present litigation, cry out for speedy, just resolutions. The blind, like the deaf, can,

 demonstrations during the present litigation have shown, achieve high internet communication

 skills if they are trained and have appropriate cooperation from merchants in providing the

 proper technology and software. See, e.g., Oliver Sacks, Seeing Voices xiii (First Vintage Books

 Ed. 2000) (“[T]he almost unlimited plasticity and resources of the nervous system, the human

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 organism, when it is faced with the new and must adapt . . . the infinite resources for survival and

 transcendence which Nature and Culture, together, have given us.”). This memorandum and

 order, approving the parties’ settlement, provides an example of a reasonable resolution of the

 issues, providing significant expansion of internet access to the visually impaired.

         This putative class action was brought by a blind person, Victor Andrews, against Blick

 Art Materials (“Blick”), a major national vendor of art materials in stores and over the internet.

 Andrews, who holds a college degree in Radio and Broadcasting Technology, claims that Blick

 could adjust its website’s code so that visually impaired individuals could more readily purchase

 art materials on its primary website, dickblick.com.

         In a prior opinion, the court ruled that the Americans with Disabilities Act (“ADA”),

 New York State Human Rights Law, New York State Civil Rights Law, and New York City

 Human Rights Law apply to Blick’s electronic merchandising. See Andrews I. Scientific

 demonstrations in court, testimony, and argument demonstrated that there are well-established,

 developing guidelines for making websites accessible to visually impaired people.

 Dickblick.com does not follow these guidelines, so defendant’s website is largely inaccessible to

 those who are visually impaired. The plaintiff was denied, a jury could find, equal access to

 Blick’s stores, as well as to the numerous goods, services, and benefits offered to the public

 through dickblick.com.

         The plaintiff moves to withdraw the class action allegations. Both parties seek approval

 of a settlement agreed to by them. Embedded within the scope of review raised by the parties’

 settlement are two questions: first, was it appropriate for the plaintiff to have abandoned the

 class action aspect of the case for individual relief that will necessarily inure to the benefit of the




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 putative class members; and second, are the terms of the settlement substantively reasonable,

 equitable, and fair.

         The court reviews the settlement in this case using its inherent power. Cf. Stephen

 Bergstein, Second Circuit to Decide Whether District Courts Must Approve ‘Cheeks’ Settlements

 Under Rule 68, N.Y L.J., Dec. 13, 2017 at 4 (discussing cases where district courts must

 approval settlements because of the wide-ranging effects on individuals). Although there has

 been no motion for class certification, this case can be properly characterized as a quasi-class

 action. In other quasi-class actions, courts have used their inherent power to review the

 reasonableness of settlements. See Infra Part III(B)-(C).

         Withdrawal of the class action allegations is allowed. As modified at the request of the

 court, the settlement is approved.


              II.       Settlement

         The Parties submitted their settlement to the court in the form of a proposed judgment.

 The submission is included in full below. The court’s suggested changes are in italics.

         Judgement

         HAVING CONSIDERED Plaintiff’s Unopposed Motion for Entry of Judgment,

 approving settlement of this litigation, the court finds that:

         A.         Defendant Blick Art Materials, LLC (“Defendant”) operates certain websites at

                    the address www.dickblick.com, www.utrechtart.com, and

                    www.dickblick.com/ara (the “Websites”) at which it offers for sale and sells art

                    supplies;

         B.         Plaintiff is a blind individual who claims that Defendant’s Website is not fully




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                accessible to, and independently usable by, visually impaired people in violation

                of Title III of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et

                seq. (“ADA”), New York State Human Rights Law, N.Y. Exec. Law, Article 15

                (Executive Law§ 290 et seq.), and the New York City Human Rights Law,

                N.Y.C. Administrative Code§ 8-101 et seq.

        C.      Defendant denies that the Website fails to comply with Title III the Americans

                with Disabilities Act of 1990 (“ADA”) or any other applicable laws;

        D.      Defendant [deletion by court] has: a) been working to improve the overall

                functionality and accessibility of the Website and the Other Websites; b) been

                awaiting guidance from the Department of Justice (“DOJ”) which has yet to

                promulgate guidelines on website accessibility; and c) retained a website

                accessibility technical coordinator to assist it in auditing the Websites and

                improving accessibility to customers and potential customers who suffer from

                disabilities.

 IT IS HEREBY ORDERED that the Motion to approve settlement of the case and elimination of

 class allegations is granted and that:

        1.      Defendant and its parents, subsidiaries, and related entities bring the Websites

                into substantial conformance with the Web Content Accessibility Guidelines

                (WCAG) 2.0 Level AA, which are hereby determined by the court to be an

                appropriate standard to judge whether Defendant is in compliance with any

                accessibility requirements of the ADA, New York State law, or New York City

                local law on or before December 31, 2019, implementing changes to the website

                in a piecemeal fashion, as practicable.



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        2.          The court shall reasonably modify the accessibility standards applicable to

                    Defendant’s Websites if

                            a.        the United States Department of Justice (“DOJ”) promulgates a

                                      final ADA Title III regulation setting out a website accessibility

                                      technical standard applicable to Defendant’s Website and Other

                                      Websites; or

                            b.        there are changes to international standards or technology related

                                      to sighted impaired individuals’ access to the internet.

                            c.        Defendant will take reasonable and necessary efforts to ensure

                                      legal compliance with the Court’s modifications to the settlement.

        3.          The court shall retain foot of the decree jurisdiction to enforce the implementation

                    of Defendant’s compliance with WCAG 2.0 AA, including assessing and

                    awarding any damages, costs, or legal fees reasonably and necessarily incurred by

                    Plaintiff’s counsel in post-judgment enforcement proceedings.

        4.          The Clerk is directed to close the case.


             III.      Law

                       A.        American’s with Disabilities Act

        The purpose of the ADA is “to provide a clear and comprehensive national mandate for

 the elimination of discrimination against individuals with disabilities.” 42 U.S.C. § 12101(b)(1);

 see PGA Tour, Inc. v. Martin, 532 U.S. 661, 674 (2001) (“Congress enacted the ADA in 1990 to

 remedy widespread discrimination against disabled individuals.”). Unlike other anti-

 discrimination statutes that only prohibit action, the ADA requires individuals and companies, in

 some instances, to take affirmative steps to eliminate barriers that inhibit the disabled; in a sense

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 it prohibits inaction. See 42 U.S.C. § 12182(b)(2)(A)(ii) (“[D]iscrimination [under the ADA]

 includes— . . . a failure to make reasonable modifications in policies, practices, or procedures,

 when such modifications are necessary to afford such goods, services, facilities, privileges,

 advantages, or accommodations to individuals with disabilities, unless the entity can demonstrate

 that making such modifications would fundamentally alter the nature of such goods, services,

 facilities, privileges, advantages, or accommodations.”).

        “Congress concluded that there was a ‘compelling need’ for a ‘clear and comprehensive

 national mandate’ to eliminate discrimination against disabled individuals, and to integrate them

 ‘into the economic and social mainstream of American life.’” PGA Tour, 532 U.S. at 676 (citing

 the ADA). It provided a “broad mandate” in the ADA prohibiting discrimination against

 disabled individuals “in major areas of public life.” Id. at 675. “The ‘broad mandate’ of the

 ADA and its ‘comprehensive character’ are resilient enough to keep pace with the fact that the

 virtual reality of the Internet is almost as important now as physical reality alone was when the

 statute was signed into law.” Andrews v. Blick Art Materials, LLC, No. 17-CV-767, 2017 WL

 3278898, at *10 -- F.Supp.3d -- (E.D.N.Y. Aug. 1, 2017).

                    B.    Quasi-Class Action

        Although Federal Rule of Civil Procedure 23(e) generally does not require approval of an

 individual settlement in a putative class action when the settlement does not bind the class, “[u]se

 of the court’s supervisory authority to police the conduct of proposed class actions under Rule

 23(d) may be appropriate.” David Herr, Annotated Manual for Complex Litigation § 21.61 (4th

 ed. 2013). cf. Fed. R. Civ. P. 23(e) (2003) (changing rule to only require court approval of

 settlements of claims of a certified class). Federal Rule of Civil Procedure 41 usually allows

 dismissal of a case without court approval, but when the statutory scheme indicates the serious


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 importance of an issue, potential for abuse and ability to effect non-parties, review may be

 appropriate. Cf. Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199, 206 (2d Cir. 2015), cert.

 denied, 136 S. Ct. 824 (2016).

        This case was filed as a putative class action and the settlement, as a practical matter,

 may affect many persons, as well as provide standards for website accessibility for the visually

 impaired in cases involving other providers. A private agreement between individuals that has

 “many of the characteristics of a class action [] may be characterized properly as a quasi-class

 action subject to the general equitable power of the court.” In re Zyprexa, 433 F. Supp. 2d 268,

 271 (E.D.N.Y. 2006) (citing Fed. R. Civ. P. 23(g)(1)(C)(iii); Fed. R. Civ. P. 23(h); Fed. R. Civ.

 P. 1 (“just ... determination of every action”); see also Fed. R. Civ. P. 23(e)(1)-(2) (dealing with

 approval of terms of settlement)); In re Air Crash Disaster at Florida Everglades on Dec. 29,

 1972, 549 F.2d 1006, 1012 (5th Cir. 1977) (noting that the circumstances of the case “created a

 penumbra of class-type interest on the part of all the litigants and of public interest on the part of

 the court and the world at large”).

        The “quasi-class action” label is most often used in the context of Multi District

 Litigation (“MDL”) cases. See Charles Silver & Geoffrey P. Miller, The Quasi-Class Action

 Method of Managing Multi-District Litigations: Problems and A Proposal, 63 Vand. L. Rev.

 107, 113 (2010); but cf. Linda S. Mullenix, Dubious Doctrines: The Quasi-Class Action, 80 U.

 Cin. L. Rev. 389, 390 (2011). This label may be appropriate in other contexts where relief will

 accrue to the class through a private individual’s settlement of claims.

        The relief fashioned in the settlement requires Blick to revise its website in order to make

 it more accessible to visually impaired individuals. All such individuals wishing to use the

 defendant’s website will benefit from these reforms. Certifying a settlement class in this case



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  would cause substantial additional expense with little or no added benefit to class members. But,

  if the court did not use its inherent power to police the settlement, putative class members would

  be unprotected from the potential for inadequate relief or abuse of the class action vehicle. See

  David Herr, Annotated Manual for Complex Litigation § 21.61 (4th ed. 2013) (“[T]he settlement

  of individual claims [in a putative class action] can represent an abuse of the class action process.

  For example, a party might plead class allegations to promote forum-shopping or to extract an

  unreasonably high settlement for the sole benefit of potential class representatives and their

  attorneys.”).

         Pursuing a class settlement in the instant case would create a riddle: a putative class

  member must be given the opportunity to opt out from the class, but the equitable relief here will

  necessarily inure to the benefit of all putative class members without exception; how could the

  court protect a putative class member’s right to opt-out while still ensuring adequate relief for the

  class? Unlike monetary relief, which must be affirmatively distributed in aggregate litigations in

  a fair and equitable way, injunctive relief—public in nature, as is the injunction here—

  automatically benefits—or burdens—those affected by the settlement. Goals laudable in certain

  aggregate cases—notice, and other formal mechanism—would be an unnecessary burden here.

  The critical issue for the court is whether the equitable relief obtained through the settlement is

  fair and reasonable.

         It is noted that counsel in related cases were present to observe the science day hearing

  that is relied on by the court. See Oct. 19, 2017 Hr’g Tr. And at least one case appears to have

  been settled on the terms now approved. See Nov. 28, 2017 Hr’g Tr., Wu v. Dos Toros LLC, 17-

  cv-05121 (E.D.N.Y. filed Aug. 30, 2017); id. Letter of Justin Zeller, ECF No. 26, Dec. 14, 2017.




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                      C.     Settlement Standard of Review

         In a class action settlement, a district court reviews the settlement to determine if it is

  “fair, adequate, and reasonable, and not a product of collusion.” Joel A. v. Giuliani, 218 F.3d

  132, 138 (2d Cir. 2000).

         The fairness of the substantive terms of a proposed class action settlement is governed by

  Grinnell factors:

         (1)     the complexity, expense and likely duration of the litigation;

         (2)     the reaction of the class to the settlement;

         (3)     the stage of the proceedings and the amount of discovery
                 completed;

         (4)     the risks of establishing liability;

         (5)     the risks of establishing damages;

         (6)     the risks of maintaining the class action through the trial;

         (7)     the ability of the defendants to withstand a greater judgment;

         (8)     the range of reasonableness of the settlement fund in light of the
                 best possible recovery; and

         (9)     the range of reasonableness of the settlement fund to a possible
                 recovery in light of all the attendant risks of litigation.

  City of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974), abrogated on other grounds

  by Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000).

         “It is proper to consider as a tenth factor the social utility of the proposed settlement.”

  Berkson v. Gogo LLC, 147 F. Supp. 3d 123, 131 (E.D.N.Y. 2015). This factor “may entail going

  beyond the four-corners of the complaint, considering issues related to the specific claims

  alleged, and evaluating how the proposed settlement will impact those issues and persons not in

  the class.” Id. Although this is not a class action, these ten factors are useful guideposts in

  reviewing the settlement.

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         In other quasi-class actions, courts have used their inherent power to review the

  reasonableness of fee arrangements and settlement matrixes. See In re Zyprexa Prod. Liab.

  Litig., 424 F. Supp. 2d 488, 491 (E.D.N.Y. 2006) (“The large number of plaintiffs subject to the

  same settlement matrix approved by the court; the utilization of special masters appointed by the

  court to control discovery and to assist in reaching and administering a settlement; the court’s

  order for a huge escrow fund; and other interventions by the court, reflect a degree of court

  control supporting its imposition of fiduciary standards to ensure fair treatment to all parties and

  counsel regarding fees and expenses.”); In re Vioxx Prod. Liab. Litig., 650 F. Supp. 2d 549, 559

  (E.D. La. 2009) (“[I]t is appropriate for the Court to exercise its equitable authority to examine

  fee agreements for reasonableness.”); In re Guidant Corp. Implantable Defibrillators Prod. Liab.

  Litig., No. MDL 05-1708 DWF/AJB, 2008 WL 682174, at *12 (D. Minn. Mar. 7, 2008),

  amended in part, No. MDL 05-1708 DWF/AJB, 2008 WL 3896006 (D. Minn. Aug. 21, 2008)

  (reviewing a fee award in a quasi-class action).

         Given the nature of the injective relief provided for in the settlement, many of the

  Grinnell factors are inapplicable. The court reviews the proposed settlement primarily to ensure

  that the parties have not abused the class action vehicle by placing individual relief over the

  rights of the putative class members, See David Herr, Annotated Manual for Complex Litigation

  § 21.61 (4th ed. 2013), and to ensure that the injunctive relief is reasonable in light of prevailing

  technological and community norms.

                     D.    Sealing Attorneys’ Fees

         The court allowed the parties to file information about attorneys’ fees and supporting

  documentation under seal. Oct. 24, 2017 Order, ECF No. 39. The parties then jointly moved to




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  seal portions of the declaration of plaintiff’s counsel because it contained fee information. Mot.

  to Seal, ECF No. 40, Nov. 22, 2017.

          There is a general presumption in favor of allowing access to court documents. See U.S.

  v. Amodeo, 71 F.3d 1044, 1048 (2d Cir. 1995). A three-step process has been constructed by the

  Court of Appeals for the Second Circuit for determining whether a document may be sealed. Id.

          First the court determines whether a document is a “judicial document.” Id. at 1048-49.

  Whether a document is judicial is determined by seeing if it “bear[s] on the exercise of Article III

  judicial power.” Id. Only judicial documents are entitled to a strong presumption of access by

  the public. Id. If the court finds that a document is judicial and entitled to the presumption of

  public access, the court then looks to the importance of the document and the weight of the

  presumption to be afforded on the basis of the document’s significance. Id. The court’s

  “judgment” about whether a document should be sealed is “informed in part by tradition.” Id. at

  1050.

          “Where such documents are usually filed with the court and are generally available, the

  weight of the presumption is stronger than where filing with the court is unusual or is generally

  under seal.” Id. The court balances the presumption against countervailing factors and the

  interests that the parties seek to protect through sealing. Id. 1050-52.

             IV.     Hearing and Submissions

          The court held a combined fairness hearing and “science day” on October 19, 2017.

  Plaintiff’s attorneys demonstrated the software commonly used by visually impaired individuals

  to access the internet, known as “screen readers.” They showed webpages that properly

  functioned with this software, as well as Blick’s present website, dickblick.com, which did not




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  permit the visually impaired to easily navigate the website. The parties also discussed class and

  quasi-class issues.

         The parties submitted additional declarations requested by the court after the hearing.

  The declarations explained the basis for the attorney fee, the plaintiff’s credentials, the

  availability of training for visually impaired individuals, and the reasonableness of the settlement

  terms and timeline. See Infra Appendixes.

                        A.   Visually Impaired Users’ Access to the Internet

                             1. Screen Reading Software

         Visually impaired individuals cannot rely on sight to guide them through the internet.

  Instead, they rely on “screen readers.” Oct. 19, 2017 Hr’g Tr. 7:15-8:5. This software translates

  the visual internet into an auditory equivalent. At a rapid pace, the software reads the content of

  a webpage to the user. Id. 16:1-19:21. Many visually impaired individuals use a braille

  keyboard, in conjunction with the screen reader, to facilitate internet navigation. Id. 32:23-25.

         The internet is an interactive tool. The screen reading software uses auditory cues to

  allow a visually impaired user to effectively use websites. For example, when using the visual

  internet, a seeing user learns that a link may be “clicked,” which will bring her to another

  webpage, through visual cues, such as a change in the color of the text (often text is turned from

  black to blue). When the sighted user’s cursor hovers over the link, it changes from an arrow

  symbol to a hand.

         The screen reading software uses auditory—rather than visual—cues to relay this same

  information. When a sight impaired individual reaches a link that may be “clicked on,” the

  software reads the link to the user, and after reading the text of the link says the word

  “clickable.” Id. 13:22-14:2 (“I want to tell the Court you keep hearing the word ‘clickable.’ So


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  what the screen reading software is doing it’s reading the header and then it’ll say it’s clickable

  so that you know it’s a function that you can click on. And if you click on it, you will go to that

  page. You will hear the word ‘clickable’ a lot.). Through a series of auditory cues read aloud by

  the screen reader, the visually impaired user can navigate a website by listening and responding

  with her keyboard.

                          2. Visually Impaired Individual’s Access to Properly Functioning
                             Websites

         Plaintiff Andrew’s Attorneys guided the court through the steps a sight impaired

  individual takes when navigating the internet. They first demonstrated the screen reading

  software with several websites that currently comply with the international standards for access

  by the visually impaired. Visually impaired individuals, like many of their sighted counterparts,

  have the basic typing and computer skills to easily access a web browser. Oct. 19, 2017 Hr’g Tr.

  24:5-25:14. From there, they can access a website or a search engine, such as google.com,

  which can direct them to the content they seek to access. Id.

         Once a visually impaired user has arrived at the appropriate website, she can navigate

  through the website by listening to prompts from the screen reader. The plaintiff navigated

  through the British Broadcasting Corporation (“BBC”) website, displayed in figure 1. As the

  sighted user will immediately become aware by looking at the home page of this website, it

  contains an amalgamation of text, links, pictures, and advertisements. For the visually impaired

  user, however, this large amount of information can only be revealed by sound.




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                   Figure 1




  Australia Citizenship Overhaul Hits Senate Hurdle, British Broadcasting Company, Oct. 19,

  2017, http://www.bbc.com/news/world-australia-41674895 (last visited Nov. 17, 2017).

         In order to approximate the experience of a sighted user, a properly functioning website

  will employ “alternative-tags” and short cuts. The “alternative-tags” for pictures allows the

  screen reader to read a description of the picture provided by the website. This allows the

  visually impaired user to get a sense for the entirety of the visual screen that is before her. Id.

  16:14-17 (“Did you hear how it just read the Australia flags copyright. That was the description



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  of all of these Australian flags that the image is showing, and it says “Copyright, Getty

  Images.”).

          The plaintiff also demonstrated the “skip to content feature.” This feature allows the

  screen reader to bypass the “non-content” text—such as advertisements or links to other

  webpages—that appears on the screen. Id. 15:22-25 (“And instead of going through the menu, I

  am going to skip right to the content. It’ll read the title, the date, the section, the caption and then

  it’ll proceed directly into the story.”). This feature saves the visually impaired user time and

  energy, and allows her to attain parity with the sighted user, who may guide his eyes directly to

  the main content, bypassing other features as he chooses.

          The plaintiff also demonstrated a properly functioning ecommerce page, the ticketing

  page of the American Museum of Natural History (a relatively simple webpage). This page

  allows visually impaired users to purchase tickets to the museum online, in a clear, digestible

  format (Figure 2 displays the website to sighted users). Id. 30:2-5 (“So the American Museum of

  Natural History is a website that allows you to check out in purchasing like Blick does, but the

  way it’s coded you can understand what you’re buying.”).




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                   Figure 2




  American Museum of Natural History Ticketing Page, https://ticketing.amnh.org/#/tickets (last

  visited Nov. 17, 2017).

         This page allows screen reading software to read to the user the type of ticket, the

  benefits of a particular package, and the price. Once the user is able to toggle through the

  various options, she may then make her selection. Id. 30:14-17 (“I’m an adult, I’m going to pay

  $28. I’m good with this. I’m going to tab through this link and I hit enter on the ‘Get Started.’

  My keyboard focus was on it and I click enter on the link.”).

                            3. Blick’s Website

         The current functionality for visually impaired users of Blick’s main website,

  www.dickblick.com, was demonstrated at the October 19, 2017 hearing by the plaintiff. It is an

  ecommerce, art-supply website with many thousands of products sold and millions of pictures.

  Id. 35:11-17. Figure 3 shows a picture of the homepage.


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               Figure 3




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  Blick Art Materials, https://www.dickblick.com. (last visited Nov. 17, 2017).

         The plaintiff walked the court through the process a visually impaired user would follow

  accessing and attempting to purchase a product—in this demonstration, crayons—from Blick’s

  website. The plaintiff began the search for crayons by visiting google.com, a search engine, and

  typing in “crayons.” Oct. 19, 2017 Hr’g Tr. 25:17-27:8. The screen reader then read aloud all of

  the options listed in the search results, eventually reaching an entry for crayons on Blick’s

  website for Crayola brand crayons (figure 4 displays this page). Id. After clicking on the link to

  Blick’s website, the demonstrator explained

         I know that I’m on the Crayola crayons page of the Blick website because the . . .
         the search [engine] read it out loud. So I understand that I’m on the Crayola crayons
         page. What I want to do is I want to read the description of the crayons. I want to
         understand how much they cost, how many crayons I get, what color. And what
         this website should do is that I should be able to tab directly from the address bar
         which is where the keyboard focus originally starts. I should be able to tab and hit
         “skip to content” so I can immediately start going through all of the materials about
         the crayons.

         Unfortunately, what happens with this website is I have to continue tabbing through
         every single menu option above.

  Id. 26:10-23.

         The plaintiff then demonstrated how a visually impaired user would currently navigate

  Blick’s website:

         Okay. So, right now, I’m on the “My Account” link. I’m going to have to tab
         through all of these . . . links in order to get to the description of the crayons. So
         that’s what I’m going to do right now, and for the sake of this demonstration, I’m
         going to click quickly tab through it . . . .

         So what happened is I clicked the description of the crayons, and what should
         happen is that it should also start reading crayons. Even though my mouse is sitting
         on this text, it’s not reading it aloud. So even with the use of the mouse, which a
         blind person wouldn’t have, there is no way for them to understand the description
         of crayons. So, unfortunately, what will happen is it actually skips from this “100
         Percent Satisfaction Guaranteed” link and it skips all the way down to



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         the bottom, the “See also Crayola construction paper crayon packs.” So, with a
         mouse, I can click through these . . . .

         I can click through the tabs that show about the crayons, but I can’t access that
         using the keyboard. So a blind person trying to buy crayons won’t actually be able
         to know what they’re purchasing. And this continues scrolling down the page. So
         even though I don’t know what I’m buying, I decided that I want to buy some
         crayons. What happens is that when I tab through this table that gives the
         description of the products that I can buy, it will read the item description, literally,
         just item and description. So it reads the titles of the chart, it doesn’t actually end
         up reading the crayons, the prices, or any description at all. It’ll simply give the
         quantity.

  Id. 27:12-29:3.

         Using this example, the plaintiff identified three interconnected difficulties with

  Blick’s website: (1) product descriptions are not accessible to screen readers; (2) the

  website can interact only with a point and click mouse system—which visually impaired

  users do not utilize—but not with a keyboard system—which visually impaired users rely

  on; (3) the only text that is picked up by the screen reader is the item quantity, which

  provides little help to a visually impaired user attempting to purchase a product. Id.

  These system errors do not allow a visually impaired user to understand the products (or

  their price) that she is purchasing from Blick’s website.

         The plaintiff also demonstrated that Blick’s “1(800)” number (listed at the top of

  figures 3 and 4) shown on the website may not be accessible to visually impaired

  individuals. The plaintiff claimed that no matter how a visually impaired user attempted

  to move through the website, it would never be read aloud to the user. Id. 21:12-21.

  Blick, however, contended that the consultant it had hired to bring its website into

  conformance with modern accessibility standards had verified that it is currently working.

  Id. 39:2-40:4.




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         Figure 4




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  Blick Art Materials, Crayola Crayons, https://www.dickblick.com/products/crayola-

  crayons/?gclid=EAIaIQobChMI2fnnzq7G1wIVCcNkCh2BFAIDEAMYASAAEgLJo_D_BwE#

  description. (last visited Nov. 17, 2017).

         Throughout the settlement process, Blick has shown a willingness to improve its

  website and processes in order to bring them into conformance with modern accessibility

  standards. Oct. 19, 2017 Hr’g Tr. 33:6-15 (“Blick Art has no design desire to be at odds

  with any kind of impaired -- visually impaired, audio impaired, clients or customers.

  And, in this case, we are not seeking to litigate against them. We are seeking to be

  compliant and we have stipulated [to the WCAG] guidelines.”); see also Infra Part IV(C).

                          4. Access to Training and Resources

         For many sighted persons, using the internet without sight can seem almost impossible.

         THE COURT: Well, I can see how with practice you could understand this. But
         does this system require, first, a high level of intelligence? [] I see the plaintiff is
         shaking his head no. That doesn’t mean he doesn’t have high level of intelligence,
         but does it require a high level of education. He’s shaking his head no. Does it
         require extensive training in this system? And he’s saying yes.

  Oct. 19, 2017 Hr’g Tr. 18:10-19.

         The plaintiff explained that with training, most visually impaired individuals can

  learn to use screen reading software.

         THE COURT: How long would it take to train a person with a GED, average
         intelligence . . . .

         MR. ANDREWS: Your Honor, it took me, because I started back when I was in
         junior high school, so it took me about a month.

  Id. 25:8-14. In Mr. Andrew’s opinion, “it is easy to learn how to use screen reading

  software.” Andrews Decl. ¶ 7, ECF. No. 41, Exh. 2, Nov. 21, 2017 (“Andrews Decl.”) (App. A).




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          Andrews explained that he is aware of several organizations that provide internet training

  for the blind including, “Lighthouse, Visions Services for the Blind and Helen Keller Services

  for the Blind.” Id. ¶ 8. Andrews himself received training on screen reading software from his

  middle school in Brooklyn, New York, and this is now a standard part of special education

  training in New York City. Id. ¶ 7.

          A declaration submitted by Mark Riccobono, the President of the National Federation for

  the Blind (“NFB”), outlined the services available to train visually impaired individuals in the

  use of screen readers. See Riccobono Decl. ¶ 6, ECF. No. 41, Exh. 3, Nov. 21, 2017

  (“Riccobono Decl.”) (App. B). “The NFB is the oldest and largest national organization of blind

  persons . . . with affiliates in all 50 states, Washington, D.C., and Puerto Rico.” Id. ¶ 9. To

  further its mission of “the complete integration of the blind into society,” the NFB provides

  “numerous programs relating to accessible technology.” Id. ¶¶ 10,12. One program is the

          International Braille and Technology Center for the Blind (IBTC), which is the
          world’s largest and most complete evaluation and demonstration center of adaptive
          technology used by the blind. At a cost in excess of $2,000,000, the IBTC has
          collected all categories of access technology for the blind currently available in the
          United States. The IBTC tests and evaluates that technology and trains blind
          trainers in their use. In addition, the IBTC publishes reviews of the many speech
          and Braille programs and devices.

  Id. ¶ 12.

          The IBTC runs a hotline that fields questions from visually impaired individuals about

  technology. Id. ¶ 14. It receives an average of seven inquires a day, most of which are about

  screen readers. Id. “Each year the NFB trains more than 100 trainers, that is blind persons, who

  teach others in the use of screen reader software.” Id. ¶ 15. The NFB also maintains three

  training centers that provide instruction on screen reading software. Id. ¶ 43.




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         In addition to the training provided by the NFB, other free and low-cost screen reading

  trainings are available. Id. ¶ 41. Training is available “online, by telephone or Skype, and in

  person.” Id. A recent survey showed that “over half of disabled users of screen reader

  technology (52%) report that they are proficient using the technology at an advanced level” with

  42% percent reporting intermediate proficiency, and only 8% describing themselves as

  beginners. Id. ¶ 42.

         Screen readers are “widely available” to visually impaired persons, and are “commonly

  provide[d]” by state vocational rehabilitation agencies and as a reasonable accommodation at

  schools. Id. ¶ 39. “A 2015 survey of screen reader users reported that 39% of screen reader

  users purchased their screen readers themselves, while 19% received it from a government

  agency, 14% received it from their employer, and 17% received it as a free download.” Id. ¶ 40.

                     B.   WCAG 2.0 Level AA Guidelines

         The parties’ settlement calls for Blick to bring its website into compliance with the Web

  Content Accessibility Guidelines (WCAG) 2.0 Level AA. The parties’ described this as the

  leading and only existing standard for visually impaired internet access. See Oct. 19, 2017 Hr’g

  Tr. 41:7-9.

         WCAG is published by World Wide Web Consortium’s (W3C) Web Accessibility

  Initiative (WAI). See Riccobono Decl. ¶¶ 64-65. The working group that publishes the

  guidelines brings together 129 participants plus 26 additional experts. Id. ¶ 65. The participants

  include:

         technology companies, such as Microsoft, Boeing, IBM, Oracle, SAP, Adobe, and
         Google; publishers and educational services, such as Pearson, Educational Testing
         Service, VitalSource, and Thomson Reuters; technology accessibility experts, such
         as SSB Bart Group, Deque Systems, Raising the Floor, and the Paciello Group; and
         disability groups, such as the Royal National Institute of Blind People.


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  Id.

         WCAG 2.0 was published in 2008. Id. ¶ 69. It has been “widely accepted as providing for

  full and equal access in accordance with federal law.” Id. ¶ 74. A long list of countries, state and

  local governments, and companies have adopted the WCAG 2.0 guidelines:

         Countries: Canada, Australia, Denmark, European Union, Hong Kong, India,
         Ireland, Israel, Italy, Netherlands, New Zealand, Switzerland, and United Kingdom.
         In addition, China, France, Germany, Norway, and South Korea have adopted
         derivatives of WCAG 2.0.

         Companies: Blackboard, Cengage, Cisco, Deloitte, Elsevier, Microsoft, Oracle,
         and Uber.

         State and Local Governments: County of Hawaii, Orange County, Florida,
         Kansas, Maryland, New York City, and Washington.

         Educational Institutions: Brandeis University, California Polytechnic University,
         City University of New York, Yale University, University of Montana, Penn State,
         Stanford University, Oregon State University, and Ohio State University.

  Id. ¶¶ 77-79. The NFB uses the WCAG 2.0 Level AA as its own standard for accessibility of its

  website. Id. ¶ 80. And the Federal Government, in implementing the Air Carrier Access Act and

  the Rehabilitation Act, requires conformance with the WCAG 2.0 Level AA. 14 C.F.R. §

  382.43; 36 C.F.R. § 1194, App. A, pt. 205.4; see also Riccobono Decl. ¶ 75.

         The WCAG 2.0 Level AA guideline is a “stable, referenceable technical standard” that is

  technology-neutral—i.e., it applies broadly to different web technologies now existing (such as

  phones, smart watches, and computers), and can also be implemented with future technologies.

  Riccobono Decl. ¶ 55. It is based upon four principles: a website must be “perceivable, operable,

  understandable, and robust.” Id. ¶ 58. The four principles are broken down into twelve

  guidelines, with “success criteria” for web developers to follow. Id. ¶¶ 58, 61. The success

  criteria provide web developers with tangible goals to work towards, turning the more abstract




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  principles and guidelines into actionable mandates. The WCAG 2.0 guideline for non-text

  content provides a useful example:

              Principle 1: Perceivable - Information and user interface components must be
              presentable to users in ways they can perceive.
              Guideline 1.1 Text Alternatives: Provide text alternatives for any non-text
              content so
              that it can be changed into other forms people need, such as large print, Braille,
              speech,
              symbols, or simpler language.

              1.1.1 Non-text Content: All non-text content that is presented to the user has a
              text alternative that serves the equivalent purpose, except for the situations listed
              below. (Level A)

                   Controls, Input: If non-text content is a control or accepts user input, then
              it has a name that describes its purpose. (Refer to Guideline 4.1 for additional
              requirements for controls and content that accepts user input.)
                   Time-Based Media: If non-text content is time-based media, then text
              alternatives at least provide descriptive identification of the non-text content.
              (Refer to Guideline 1.2 for additional requirements for media.)
                   Test: If non-text content is a test or exercise that would be invalid if
              presented in text, then text alternatives at least provide descriptive identification
              of the non-text content.
                   Sensory: If non-text content is primarily intended to create a specific
              sensory experience, then text alternatives at least provide descriptive
              identification of the non-text content.
                   CAPTCHA: If the purpose of non-text content is to confirm that content is
              being accessed by a person rather than a computer, then text alternatives that
              identify and describe the purpose of the non-text content are provided, and
              alternative forms of CAPTCHA using output modes for different types of sensory
              perception are provided to accommodate different disabilities.
                   Decoration, Formatting, Invisible: If non-text content is pure decoration,
              is used only for visual formatting, or is not presented to users, then it is
              implemented in a way that it can be ignored by assistive technology.

  Id. ¶ 61.

          There are three “levels” of compliance within the WCAG Guidelines: A, AA, and AAA.

  It appears to be the consensus that the AA Level should be used by companies when bringing

  websites into compliance. As Blick’s consultant explained:




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         the WCAG standard warns: “It is not recommended that Level AAA conformance
         be required as a general policy for entire sites because it is not possible to satisfy
         all Level AAA Success Criteria for some content.” In practice, level AAA
         compliance is almost never attempted or reached, except in rare circumstances, as
         it is extremely difficult to achieve, and does not substantially benefit most disabled
         users – particularly users who are blind. The general consensus of experts is that
         Level AA is the appropriate level for the vast majority of organizations to pursue,
         and all laws which I am aware of require this level as well, including the refreshed
         Section 508 agency guidelines.

  Cannon Decl. ¶ 6, ECF. No. 41, Exh. 5, Nov. 22, 2017 (“Cannon Decl.”) (App. C).

         WCAG 2.0 Level AA addresses the major barriers the visually impaired encounter, many

  of which were demonstrated at the science day in this court, such as a failure to provide “alt

  tags” for pictures, controls that cannot be navigated with the keyboard, and improperly coded

  navigation that does not allow a screen reader to skip repetitive content. Riccobono Decl. ¶ 52.

          W3C has announced that in 2018 it will publish an updated guideline, WCAG 2.1. Id. ¶

  70. The new guidelines’ primary focus will be on accessibility for those with low vision and

  learning disabilities, as well as increasing mobile access. Id. “WCAG 2.1 is designed to be

  ‘backwards compatible’ so websites that conform to WCAG 2.1 will also conform to WCAG

  2.0.” Id. ¶ 71. As of now, it does not appear that WCAG 2.1 will require substantial changes

  from WCAG 2.0. Id. ¶ 70-73.

                     C.   Implementation and Timeline of Guidelines to Blick’s Website

         In September 2017, Blick hired a consultant organization, Accessible360 (A360), to

  conduct an audit and bring its website into compliance with WCAG 2.0 Level AA. Cannon

  Decl. ¶¶ 1-2, 7. A360’s lead engineer, Aaron Cannon, himself a blind individual, has overseen

  approximately 75 website’s transition to compliance with WCAG 2.0 Level AA. Id. ¶ 3. A360

  is currently conducting an audit of Blick’s website in order to develop a compliance plan. Id. ¶¶




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  7-8. Once the plan is completed, A360 will implement it and then conduct ongoing monitoring

  and training to ensure continued compliance. Id. ¶ 8.

         The parties’ settlement calls for a two-year timeline for Blick to implement changes. See

  Supra Part II. At the science and settlement hearing, the court urged Blick to, if possible,

  implement changes to its website piecemeal, in order to provide benefit to users as soon as

  possible. See Oct. 19, 2017 Hr’g Tr. 37:18-22. Blick’s consultant explained that its process

  conforms with the court’s preference for piecemeal implementation:

         It is likely that users of the Blick website will see a major improvement in the
         accessibility of the site much sooner than the two year deadline. Part of the service
         that A360 provides to all its clients is helping them to identify the most critical
         issues, so they can address them first. We refer to these issues as “blockers,”
         because they can block a large number of disabled users from completing tasks on
         the site. Once the blockers are addressed, A360 clients can then move on to fixing
         the rest of the issues that, while they may pose an inconvenience to disabled users,
         should not prevent them from using the major functions of the site. Rarely can a
         business update its site’s accessibility all at once. It is much more common to
         implement these changes piecemeal because it gives the organization a chance to
         better gauge the impact of the changes, as well as helping the organization deliver
         incremental improvements to its customers sooner than would otherwise be
         possible.

  Cannon Decl. ¶ 10 (emphasis added).

         Blick has already begun to implement changes to its website. The site now contains an

  accessibility statement and the toll free number—which the plaintiff claimed was not accessible

  by screen readers—has been verified as working by A360. Id. ¶ 7.

         Both plaintiff and defendant agree that a two-year timeline is reasonable. Plaintiff’s

  counsel, who has substantial experiences in ADA-access-to-internet cases referred to this time

  period as the “general market standard.” Oct. 19, 2017 Hr’g Tr. 37:3-17. Blick’s website

  presents particular compliance difficulties because it has “thousands and thousands of items,

  [and] millions of pictures.” Id. 35:11-17. Blick’s consultant opined:



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          Given the number of issues A360 has already found on the
          http://www.dickblick.com site, coupled with the size and complexity of the site,
          and the number of products on offer there, it is my opinion and experience that two
          years is a reasonable and not uncommon amount of time to bring this site into
          substantial compliance with the WCAG 2.0 AA standard. The audit process is
          underway, but based on information currently available, I believe Blick will be able
          to achieve this goal by December 31, 2019. During this period, I believe Blick’s
          toll free number will remain accessible to visually impaired people via screen
          reader technology.

  Cannon Decl. ¶ 9.

          The plaintiff has expressed his satisfaction with the settlement terms. Andrews

  Decl. ¶ 10.

                      D.    Class and Quasi-Class Action Issues

          The court and parties discussed the reasons why the plaintiff abandoned the class action

  aspect of his case in favor of individual relief. Plaintiff’s counsel described three mechanisms

  for resolving cases like the present litigation.

          [Plaintiff’s Counsel]: You can settle them on an individual basis and people just
          kind of walk away and you drop the case and everybody goes their individual paths.
          You can attempt to do a class settlement for injunctive relief which my firm has
          also done, or we can attempt to do what we’re doing here which is asking the Court
          to sign off on the settlement and to retain jurisdiction over disputes arising under
          the Blick website.

          So I’ll go through the pluses and minuses of each scenario.

          So the first scenario which I described where people just walk away, that is usually
          the cheapest way for everybody involved. But, unfortunately, that puts defendants
          in a position of being sued after they’ve been sued the first time and they’ve already
          agreed to update their website and they’re getting sued in the interim while they’re
          fixing their website. So to get around that, some parties have decided to just do a
          class settlement and get a court approval of Rule 23 for injunctive relief, so that if
          anybody wants to sue [] they would object. But, otherwise, the case, I guess, other
          plaintiffs would be precluded unless if they were to object or opt-out.

          Now, I’m currently doing a class settlement right now with Judge Koeltl in the
          Southern District. For certain logistical reasons, Judge Koeltl has found that process
          to be hard and I’m currently working with the Court, with Judge Koeltl, because
          Judge Koeltl was concerned that there was more opt-out options for the class and

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         the rationale was because the website is being fixed, everybody is going to be able
         to enjoy it, so there is no opt-out availability because you're basically on –

         THE COURT: I’m not interested in any opt-out. I’m not interested, really, in a class
         action at this stage. Because if a satisfactory process is established, every sight-
         impaired person will have it available. So we can cut through the class action and
         proceed here. I don’t think it’s res judicata, but I would find it very difficult when
         we have representatives of these other actions here if this is declared reasonable to
         go forward on a position for summary judgment in these other cases. I’m not
         deciding that, but it seems to me that’s a reasonable view, and I don’t want to go
         through this again. So I’m prepared to go ahead on this . . . .

  Oct. 19, 2017 Hr’g Tr. 45:14-47-6.

         The parties have charted a middle ground between a purely individual settlement and

  resolving the case through the formal strictures of a class action.


             V.      Application of Law to Facts

                     A.    Elimination of Class Allegations

         The parties seek the benefits of court review, approval, and continuing jurisdiction,

  without the costs that would be associated with a class action settlement. Unlike the purely

  individual settlement, where the court has no role and the defendant has no protection from

  future suits, charting the course of a quasi-class action provides a degree of assurance that the

  defendant will be less likely to face suit while updating their websites. The putative class

  members, who will necessarily be effected by the injunctive relief, are afforded a degree of

  protection from court review, which ensures that the relief is reasonable. An individual plaintiff

  is less likely to be bought off when the court reviews the settlement. See Supra Parts III(B)-(C).

         Given that the injunctive relief in this case will necessarily inure to the benefit of the

  putative class, the parties have thoroughly negotiated and supported the terms of the settlement,

  and provided the court the opportunity to review the settlement and suggest changes, it was

  proper for the plaintiff to settle this case individually. There is no sign of any collusion by the

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  parties that would prejudice possible class members, and as discussed infra, the relief appears to

  be fair and reasonable.

                     B.     Reasonableness of Settlement Terms

         Given the nature of the injective relief, many of the factors traditionally reviewed by

  courts in approving class action settlements are inapplicable. The court reviews the proposed

  settlement primarily to determine that the parties have not abused the class action vehicle by

  placing individual relief over the rights of the putative class members, see David Herr, Annotated

  Manual for Complex Litigation § 21.61 (4th ed. 2013), and to ensure that the injunctive relief is

  reasonable in light of prevailing technological and community norms.

         At science day, the parties demonstrated to the court that with training and access to

  technology, the visually impaired can, in general, participate more readily in internet age

  processes. Through the court demonstrations, it was evident that most visually impaired

  individuals can learn to use the internet with screen reading software, as long as the website was

  navigable by the screen reader. Blick’s website, the plaintiff demonstrated, currently had issues

  that prevented it from being accessed by users relying on screen readers.

         The testimony of Plaintiff Andrews along with the Declaration of Mark Riccobono, the

  President of the NFB, convinces the court that there is adequate access to training for the visually

  impaired. Andrews explained that it took him about a month to learn to use the technology and

  that it does not take a high degree of intelligence to learn to use the software. See Oct. 19, 2017

  Hr’g Tr. 18:10-19; Id. 25:8-14. Mr. Riccobono informed the court that screen readers are

  “widely available” and training is commonly held at schools and state vocational rehabilitation

  centers. Riccobono Decl. ¶ 39. The NFB itself trains more than 100 trainers each year. There

  are online and telephone sources of training available as well. Id. ¶¶ 15, 41, 43.


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         Importantly, the guidelines that the parties have chosen to adopt, the WCAG 2.0 Level

  AA, appear to be nearly universally accepted. They provide adequate controls to allow visually

  impaired individuals to access the internet. There is a large list of countries, state and local

  governments, technology companies, and educational institutions that have adopted these

  guidelines. The NFB, a leading advocacy organization for the blind, has adopted it, and the

  federal government has used it. See Supra Part IV(B). Blick’s technical consultant, who has

  years of experience making websites accessible to the visually impaired, is “unaware of the

  existence of any current competing standards.” Cannon Decl. ¶ 5.

         There are, as of now, no competing standards from the Federal Government. If the

  government were to promulgate regulations, the parties have given the court the power to modify

  the settlement in light of those changes which are practicable. The WCAG guidelines are set to

  be updated in 2018 (see Supra Part IV(B)) and the parties have given the court the ability to

  modify the settlement, if needed, after those changes. See Supra Part II. In the absence of

  competing standards, and through demonstrating that the standards are nearly universally

  accepted as providing adequate access to the visually impaired, the court can appropriately

  accept the present guidelines as presently adequate.

         Plaintiff Andrews has expressed his satisfaction with the settlement terms. Andrews

  Decl. ¶ 10. He has been using screen reading software for 20 years, and has extensive

  knowledge and experience with various ecommerce websites. Id. ¶¶ 3,6. He believes that this

  settlement will allow him and others to better access Blick’s website. Id. ¶ 10.

         The parties have demonstrated that the two-year timeline is reasonable. Blick has already

  begun working to bring its website into compliance with the WCAG 2.0 Level AA guidelines.

  See Cannon Decl. ¶¶ 6,8. Its technical consultant is using a method that will implement the



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  changes to the website in piecemeal fashion, focusing first on the most critical issues that are

  currently blocking access to the visually impaired. Id. ¶¶ 7-8. This method will allow the

  website to see a “major improvement” well before the two-year timeline for total completion. Id.

          Blick’s ecommerce website is unique in scope and complexity. The two-year timeline,

  while necessary in this case, may not be appropriate as a benchmark timeframe in all cases. The

  two-year timeframe must be viewed in light of the ongoing partial improvements Blick has

  agreed to undertake.

                      C.    Sealing of Attorneys’ Fees and Fee Approval

          The parties agree that the fees should be sealed in this case. The court agrees, despite the

  general presumption in favor of access to court documents. Should an intervening party seek to

  unseal the fees, the court will revisit its decision.

          The parties argue that little weight should be given to the presumption of public access

  because the information is not relevant to the performance of the judicial function. Mot. to Seal,

  ECF No. 40, Nov. 22, 2017. They also argue that sealing the documents might protect the

  attorney-client privilege and work product doctrines, as well as the confidentiality of the

  negotiations between the parties. Id.

          This case, a quasi-class action, sits between an individual settlement agreement, which

  does not ordinarily require court approval, and a class settlement, which does require approval.

  Because it occupies this middle ground, there is no clear procedural history or tradition. See U.S.

  v. Amodeo, 71 F.3d 1044, 1048 (2d Cir. 1995) (noting that the court’s “judgment” about whether

  a document should be sealed is “informed in part by tradition. Where such documents are usually

  filed with the court and are generally available, the weight of the presumption is stronger than

  where filing with the court is unusual or is generally under seal.”).


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         This settlement, although it will necessarily effect all visually impaired individuals

  seeking to access Blick’s website, more closely resembles an individual settlement than a class

  settlement. Unlike other quasi-class actions that are large, multidistrict litigations involving

  thousands of claimants and millions of dollars, this case requires an injunction directing action

  on the defendant’s part. The weight afforded to the presumption of public access is, accordingly,

  lower than it ordinarily would be. Balancing this weight against the protection of the privilege as

  well as the confidentiality of the negotiations, the documents should be kept under seal.

         The court has reviewed the sealed affidavit of counsel concerning the attorneys’ fees and

  concludes that the negotiated fee is reasonable. The parties skillfully litigated the threshold issue

  in this case about whether the ADA applies to the internet. See Andrews v. Blick Art Materials,

  LLC, No. 17-CV-767, 2017 WL 3278898, -- F.Supp.3d -- (E.D.N.Y. Aug. 1, 2017). There is no

  reason to believe that the fee negotiated between the parties was not the product of arm’s length

  appropriate bargaining.

         Plaintiff’s counsel demonstrated skill and experience in shepherding this case through the

  settlement process. The relief obtained for the putative class in the settlement is fair and

  adequate. Counsel ably supervised and coordinated the demonstrations at science day and

  collected and submitted helpful declarations after the hearing. In view of his experience and

  skill, and the amount of time expended on the case, the award is reasonable.


             VI.     Conclusion

             The parties’ settlement, including the attorneys’ fees, is approved as fair and

     reasonable. The attorneys’ fee information shall remain under seal.




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              Plaintiff shall promptly provide a copy of the judgment approved by the defendant.

     The clerk of the court shall close the case upon signing of the judgment of settlement by the

     court.




                                                              SO ORDERED.

                                                              /s/ Jack B. Weinstein
                                                              Jack B. Weinstein
                                                              Senior United States District Judge

        December 21, 2017
        Brooklyn, New York




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                                           Appendix A

                        DECLARATION OF VICTOR ANDREWS

        I, VICTOR ANDREWS, under penalty of perjury, affirms as follows:

         1.     I am completely blind.

        2.      I received a college degree in Radio and Broadcasting Technology from

     Kingsborough Community College in 2014. I sometimes work as a DJ for parties

     and live sound events.

        3.      My preferred method of shopping is purchasing products online through my

     personal computer. As opposed to shopping at a physical store, online shopping

     enables me to purchase products from my home anytime during the day or night.

     Online shopping also provides me more privacy and security because I can complete

     a purchase without relying on other's assistance. I frequently buy products such as

     electronics, food, clothes and accessories online.

        4.      I cannot use a computer without the assistance of screen reading software.

        5.      When I perform certain functions on a keyboard, screen reading software

     reads the content of the website and allows me to navigate to the next step.

         6.     I have been using screen reading software for approximately 20 years. I

     received training in how to use screen reading software when I was studying in

     junior high school, Middle School 142, located at 610 Henry St., Brooklyn , NY

     11231.

         7.     Middle School 142 provides free training for blind students to teach them

     how to use screen reading software. In my opinion, it is easy to learn how to use



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     screen reading software. I became familiar of the screen reading software after one

      month of using it. All blind individuals now receive screen reading software training

      as part of their special education training.

         8.       I know there are also other institutions that provide training for blind

      individuals, such as Lighthouse, Visions Services for the Blind and Helen Keller

      Services for the Blind.

         9.       I frequently find websites that contain accessibility barriers. The barriers

      prevent me from using screen reading software to access products and services.

         10.      I am satisfied with the settlement of this matter. Making Defendant’s

      websites comply with WCAG 2.0 AA standard will enable me and other blind

      individuals to access Defendant 's products and services using screen reading

      software.


     I affirm, under penalty of perjury, that the above and foregoing information is true and correct.




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                                           Appendix B

               DECLARATION OF MARK RICCOBONO, PRESIDENT, NATIONAL
                           FEDERATION OF THE BLIND


             I, Mark Riccobono, do hereby declare that:

                                         Background and
                                          Qualifications

         1. I am over eighteen years of age and am competent to make this Declaration.

         2. I am legally blind.

         3. Attached hereto as Exhibit A is a copy of my curriculum vitae.

         4. I received a bachelor’s degree in Business Administration from the

      University of Wisconsin in 1999 and a Master of Science degree in Educational

      Studies from Johns Hopkins University in 2009.

         5. I read Braille and use screen reader software to access websites.

         6. I have been President of the National Federation of the Blind (NFB) since

      2014. I have worked in the field of blindness for 17 years, beginning as the Director

      of the Wisconsin Center for the Blind and Visually Impaired from 2000 to 2003.


         7. I have worked for the NFB for 14 years, first as Director of Education for the

      NFB Jernigan Institute from 2003 to 2007, then as Executive Director of the NFB

      Jernigan Institute from 2007 to 2014.

         8. I was appointed to the Federal Commission on Accessible Instructional

      Materials (AIM) in Postsecondary Education in 2011.

         9. The NFB is a non-profit corporation headquartered in Baltimore, Maryland.




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      The NFB is the oldest and largest national organization of blind persons. It has

      affiliates in all 50 states, Washington, D.C., and Puerto Rico. The NFB and its

      affiliates are recognized by the public, Congress, executive agencies of state and

      federal governments, and the courts as a collective and representative voice on behalf

      of blind Americans and their families.

         10. The ultimate purpose of the NFB is the complete integration of the blind into

      society on a basis of equality. This objective includes the removal of legal, economic,

      and social discrimination.

         11. As part of its mission and to achieve these goals, the NFB has worked actively

      to ensure that the blind have an equal opportunity to access the internet and other

      emerging technology.

         12. The NFB provides numerous programs relating to accessible technology,

      including the International Braille and Technology Center for the Blind (IBTC),

      which is the world's largest and most complete evaluation and demonstration center

      of adaptive technology used by the blind. At a cost in excess of $2,000,000, the

      IBTC has collected all categories of access technology for the blind currently

      available in the United States. The IBTC tests and evaluates that technology and

      trains blind trainers in their use. In addition, the IBTC publishes reviews of the many

      speech and Braille programs and devices.


         13. The principal concern of access technology is the use of technology to afford

      persons with disabilities, in this instance blind persons, with access to information.

      Today, information is increasingly presented in a visual electronic format. The

      internet, in particular, has become an ever more significant source of information for




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      blind persons, just as it has for the sighted.

          14. The International Braille and Technology Center receives, on average, seven

      telephonic inquiries daily, typically from blind persons. The majority of these

      inquiries concern screen reader software.

          15. Each year the NFB trains more than 100 trainers, that is blind persons, who

      teach others the use of screen reader software.

          16. The NFB maintains up-to-date lists of assistive and accessible technology

      resources, devices, and software; tests the accessibility of technologies; and

      partners with technology developers to develop new assistive technologies and

      improve the accessibility of mainstream technologies.

          17. The NFB also conducts and supports academic and other research into

      blindness and the issues affecting blind people, including the Jacobus tenBroek

      Library, a research and resource center on the non-medical aspects of blindness. The

      Library provides researchers with materials about blindness from the perspective of

      the blind.

          18. The NFB publishes the Journal of Blindness Innovation and Research (JBIR), a

      multidisciplinary publication presenting primary research, scholarly reviews, and

      reports of innovative information and research related to the blind. JBIR publishes

      research and professional discourse that broadens and deepens our understanding

      about blindness and the best practices for increasing the independence, self-respect,

      self-determination, and potential of individuals who are blind.


          19. The NFB also provides educational programs for the blind and for sighted

      individuals, including STEM education and resources, Braille Literacy, Early Child




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      programs, and the BELL Academy.

                                          Blind Access to
                                             Websites

         20. Blindness is a disability whose incidence is on the increase. As the American

      population lives longer, as the baby boomers age and as the incidence of diabetes

      increases, vision loss is on the rise. The fastest growing group of newly blind people is

      seniors. Many of these seniors made use of computers and the internet before their

      vision loss.

         21. Prior to the widespread availability of digital technologies, such as websites and

      ebooks, print materials posed a significant obstacle to access to information,

      education, and other aspects of community life for the blind. The blind could access

      print materials only if the materials were converted to Braille or if they were read by a

      human reader, either live or recorded.

         22. Although human narration was once the best access a blind reader could

      receive to print materials, websites have advanced far past the capabilities of human

      narration, making human narration substantially inferior to use of accessible

      websites.

         23. Providing a live human reader, such as via a telephone line, would be

      expensive or burdensome, both for a business offering a website staffed at all hours

      that a website is available (24 hours a day, 7 days a week, 365 days a year) and for

      family members or friends of blind individuals.

         24. Live reading takes more time than “surfing” or “browsing” a website. Live

      readers cannot increase their speed – they are inherently limited to the pace they can

      reasonably read aloud. Live reading also raises the potential of inaccuracies,




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      particularly if the reader is not very familiar with the material or lacks the educational

      level appropriate to the material. Moreover, live readers’ orations cannot be

      reproduced, giving the blind reader only one opportunity to hear the material.

         25. Recorded human narration can address some of these issues, such as accuracy,

      repetition, and speed, but presents its own problems. Frequently, it will take six

      months to more than a year for a blind person to receive a requested recording of a

      textbook from an entity like Learning Ally. Recordings of websites are virtually

      unheard-of; and it would be impractical to provide, or to rely on, audio recordings of

      websites because websites change frequently, making delays unacceptable and making

      it infeasible to maintain the currency of recordings. Moreover, recorded human

      narration cannot be navigated, searched, or skipped through like an accessible website

      and will not allow a reader to hear each character to discern spelling.

         26. Blind people access websites with a screen reader or built-in text-to-speech

      software, both of which can output information either as a computerized

      vocalization of the text or as Braille through a user-provided refreshable Braille

      display device.

         27. Unlike websites narrated by human readers, accessible websites can be read by

      a screen reader as quickly as the reader wants, or even skimmed. Further, they

      provide search and navigation capabilities, allowing visitors to skip to items of

      particular interest, jump from page to page, or item to item, as well as discern spelling.

      This allows blind website visitors to use a website much like a sighted visitor may do.

         28. Through my work, I am familiar with the use of screen reader software by the

      blind and visually-impaired community to access the internet and perform other




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      computer functions. The use by the blind of screen reader software has become

      widespread. For example, although I do not have recent statistics about the precise

      number of blind screen reader users, a 2001 article estimated that there were 1.5

      million visually-impaired computer users, and 200,000 internet users with a "severe

      limitation in seeing." Gerber, Elaine and Kirchner, Corrine, Who's Surfing? Internet

      Access and Computer Use by Visually Impaired Youth and Adults, Journal of Visual

      Impairment & Blindness, 95 (3), 176-181 (2001). This article is available on the AFB

      website at

      https://www.afb.org/jvib/newjvibabstract.asp?articleid=/JVIB/JVIB950308.

         29. Because of the greater availability and lower costs of screen reader technology

      since 2001, as well as the greater prevalence of vision impairments as the Baby

      Boomer generation has aged, it is likely that the number of blind screen reader users

      trying to access the Internet has grown since 2001.

         30. Except for a blind person whose residual vision is still sufficient to use

      magnification, screen reader software provides the only method by which a blind

      person can independently access the internet.

         31. Screen readers are software programs or applications that convey digital text

      aloud in a computerized voice or as Braille text displayable on an individual’s

      Braille display device.

         32. Several screen readers are available to blind users of Windows® and Apple

      operating system-enabled computers. While each screen reader may have differences

      in how the user operates the software, each allows the information available to sighted

      persons to be rendered in text, audio, or Braille.




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         33. Although current data are unavailable and the number of screen reader

      offerings has both expanded (adding platform-specific screen reader software such as

      Talkback and VoiceOver) and contracted (Window-Eyes was discontinued) over the

      last several years, the most common screen reader continues to be Job Access With

      Speech, or “JAWS.” A 2015 survey reported that approximately 30% of screen reader

      users, and 39% of blind screen reader users, use JAWS.

      https://webaim.org/projects/screenreadersurvey6/ (Primary Screen Reader). JAWS

      costs approximately $900-$1,100 and can be used with all 32-bit or 64-bit versions of

      Windows® 10, Windows 8.1, and Windows 7 along with Windows Server 2008 and

      2012, including with Microsoft Office, Internet Explorer, Firefox, and more.

         34. ZoomText Magnifier/Reader is another popular screen reader, being

      used by approximately 22% of screen reader users in 2015.

      https://webaim.org/projects/screenreadersurvey6/ (Primary Screen Reader).

      However, ZoomText is used more by people with low vision than by blind

      people, because of its focus on magnification. Id.

         35. For Apple users, the predominant screen reader is VoiceOver, which is built in

      to the Apple operating system. As of 2015, approximately 8% of screen reader users

      used VoiceOver when using a computer (and 57% of screen reader users used

      VoiceOver on mobile devices). https://webaim.org/projects/screenreadersurvey6/

      (Primary Screen Reader and Mobile Screen

      Readers Used). Microsoft also offers a built-in light-duty screen reader, called

      Narrator, in Windows®. For Android users, TalkBack is a built-in screen reader for

      Android mobile devices.




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         36. NVDA (Nonvisual Desktop Access) is a free open-source downloadable screen

      reader that works with Microsoft Windows® to read text on a computer screen in a

      computerized voice or convert the text to Braille. As of 2015, approximately 15% of

      screen reader users, and 17% of blind screen reader users, used NVDA.

      https://webaim.org/projects/screenreadersurvey6/

      (Primary Screen Reader).

         37. In addition to serving blind people, screen readers provide important benefits

      for people with learning disabilities such as dyslexia, because they can highlight

      words in text while pronouncing them audibly. Screen readers also benefit people

      with manual dexterity disabilities who cannot use a mouse.


         38. While specific data are unavailable to estimate the number of blind people

      who have access to screen reader technology, many do.

         39. Screen reader technology is widely available to blind people because it is

      built in to mainstream technologies, such as Apple’s VoiceOver and Android’s

      TalkBack or because it is free, such as NVDA, or low-priced. In addition, state

      vocational rehabilitation agencies commonly provide JAWS or other screen readers

      for blind individuals seeking or gaining employment. Employers and schools often

      provide screen readers as a reasonable accommodation for employees and students

      with vision disabilities pursuant to the Americans with Disabilities Act (ADA) and

      the Individuals with Disabilities Education Act (IDEA).

         40. A 2015 survey of screen reader users reported that 39% of screen reader users

      purchased their screen readers themselves, while 19% received it from a government

      agency, 14% received it from their employer, and 17% received it as a free download.




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      https://webaim.org/projects/screenreadersurvey6/ (How Obtained).

         41. Many sources of training on how to use the most common screen readers are

      available online, by telephone or Skype, and in person. Many of these are free or low-

      cost. In addition, most screen reader providers offer accessible text information on

      how to use their technology. Finally, individualized or advanced training can be

      purchased from several providers.

         42. A survey of screen reader users by WebAIM in 2015 showed that over half of

      disabled users of screen reader technology (52%) report that they are proficient using

      the technology at an advanced level. https://webaim.org/projects/screenreadersurvey6/

      (Screen Reader Proficiency). 48% of all responders (with and without disabilities)

      reported that they were proficient at an intermediate level, while only 8% reported that

      they were beginners.


         43. NFB offers three Training Centers, in Louisiana, Colorado, and Minnesota,

      that provide training on blindness skills, including screen reader use, for children,

      adults, and seniors.

         44. Unlike printed content, digital content is not inherently visual (or audible or

      tactile) and so can be made accessible to any or all of those senses.

         45. When digital textual content is properly formatted for use with screen reader

      software, it is universally available to the sighted and blind alike and does not require

      the re-creation of text in a separate format. When properly formatted, content will (1)

      be susceptible to manipulation with keyboard commands (as opposed to mouse only);

      (2) have headings in the coding that offer nonvisual organization to complex pages as

      an alternative to a visual layout: (3) label links, edit boxes, and dropdown boxes




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      accurately; and (4) describe images in screen readable text.

         46. Websites that are compatible with screen readers provide significant search

      and navigation capabilities, allowing readers to jump from section to section, page to

      page, and item to item, as well as discern spelling. This allows blind readers to re-

      read certain sections of a work they might not grasp on the first pass, just as a sighted

      reader may re-read a complicated passage.

         47. Not all digital information is accessible. For example, scanning a copy of

      print material usually results in a file in portable document format (PDF). PDFs are

      created essentially by taking a picture of the page. This gives a sighted person

      enough to read on a computer screen, but it does not allow screen reader software to

      recognize the text.

         48. However, materials that are originally created for digital display, or “born

      digital,” rather than scanned from print material do not have to be manually tagged.


          49. Technology has the potential either to further exclude the blind from the

      social, economic, and commercial life of this country or to integrate the blind

      more closely into our country's fabric.

          50. Unfortunately, with increasing frequency, the blind face gratuitous barriers to

      entry; that is, the blind are confronted with barriers, even when the state of the art

      technology offers an alternative to sight-based entry or when there would be no

      significant added cost to accessibility. These barriers frequently arise from a failure

      to consider the blind as full members of society or from a lack of awareness of the

      adaptive techniques used by the blind. See

      https://www.w3.org/standards/webdesign/accessibility#examples for an introduction




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      to some of these barriers and their solutions.

         51. These barriers are easily avoided if website designers ensure that the following

      principles are followed. All page content should:

                    Be susceptible to manipulation with keyboard commands (as opposed

                     to mouse only); for standard text, a developer should use actual text

                     rather than screenshots, pictures of tables, or other images of text when

                     possible. For custom web controls, the developer should incorporate

                     the appropriate keyboard JavaScript handlers for detection of the

                     keyboard;

                    Have headings in the coding that offer nonvisual organization to

                     complex pages as an alternative to a visual layout: Each page should

                     have its sections indicated using HTML headings <h1>, <h2> etc.

                     Headings should be used to mark distinct sections of a page and to

                     convey hierarchical structure;

                    Label all interactive elements of a page correctly. All text links

                     should clearly indicate the destination, rather than using terms like

                     “Click Here.” Form controls such as edit fields, drop down lists,

                     check boxes, and radio buttons, should have a clear label tag which

                     states what is desired for that field; and

                    Describe images in screen readable text. All graphics, unless used

                     for purely decorative purposes, must have an alt attribute (alt=

                     “some text”). These alt attributes must provide a brief and concise

                     description of the contents and main purpose of the image.




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          52. WCAG 2.0 Level AA addresses the major barriers that blind people

      encounter when using inaccessible websites, such as images, buttons, and fillable

      forms that do not have text descriptions (“alt-text”) that can be read by a screen

      reader; CAPTCHAs that do not have audio options, buttons and controls that can

      only be operated by a mouse and not with keyboard controls; navigation that is not

      tagged so a screen reader can read it in the proper order or that does not allow a

      screen reader to skip repetitive coding and content; and pages that “time out” before

      a screen reader can complete them.

          53. WCAG 2.0 Level AA is sufficient to meet the needs of most blind users

      without imposing heavy burdens on website developers. For example, unlike Level

      AAA, Level AA does not require provision of prerecorded synchronized sign

      language for prerecorded audio, extended audio description, high contrast ratios for

      text, elimination of background noise for audio, customizable screen background

      colors and text sizing, or error prevention mechanisms, which can be expensive or

      technologically advanced. Nor does Level AA require changes to line spacing or size,

      elimination of time limits, or specific types of text descriptions of links, titles, and

      headings, which may impact an author’s design and content decisions.


                   Web Content Accessibility Guidelines Meaning and Implementation

          54. The NFB supports the application of the World Wide Web Consortium’s

      (W3C) Web Content Accessibility Guidelines (WCAG) 2.0 Level AA as a

      standard for assessing and remediating the accessibility of websites. The WCAG

      2.0 standard is available at https://www.w3.org/WAI/intro/wcag.

          55. WCAG 2.0 is a stable, referenceable technical standard. It was published by




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      the W3C in 2008. WCAG 2.0 is technology-neutral, meaning it is designed to apply

      broadly to different Web technologies now and in the future. Thus, WCAG 2.0

      applies to websites, as well as mobile applications and devices

      (https://www.w3.org/TR/mobile-accessibility-mapping/), digital

      TVs, smart watches, automobile and airplane devices, and household appliances,

      and other “internet of things” devices. https://www.w3.org/WAI/mobile/.

          56. The WCAG 2.0 standard and large amounts of supporting and explanatory

      material are available for free online from W3C.

          57. WCAG is primarily intended for: web content developers (page authors, site

      designers, etc.), web authoring tool developers, web accessibility evaluation tool

      developers, and others who want or need a standard for web accessibility,

      including for mobile accessibility. https://www.w3.org/WAI/intro/wcag.php. It is

      not intended as an introduction to website

      accessibility.

          58. WCAG 2.0 has four principles that accessible websites must achieve:

      perceivable, operable, understandable, and robust. Within these four principles are

      12 guidelines describing the meaning of the principles.

          59. W3C provides the following summary of WCAG’s principles and guidelines:

              1. Perceivable - Information and user interface components must be
                 presentable to users in ways they can perceive.




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               This means that users must be able to perceive the information being presented (it
                can't be invisible to all of their senses)

        2. Operable - User interface components and navigation must be operable.
            This means that users must be able to operate the interface (the interface cannot
              require interaction that a user cannot perform)

        3. Understandable - Information and the operation of user interface must be
           understandable.
               This means that users must be able to understand the information as well as
                  the operation of the user interface (the content or operation cannot be beyond
                  their understanding)

        4. Robust - Content must be robust enough that it can be interpreted reliably by a wide
           variety of user agents, including assistive technologies.
                This means that users must be able to access the content as technologies
                   advance (as technologies and user agents evolve, the content should remain
                   accessible)

  If any of these are not true, users with disabilities will not be able to use the Web.
  https://www.w3.org/TR/UNDERSTANDING-WCAG20/intro.html#introduction-fourprincs-
  head.

     60. WCAG provides guidelines for each principle:

        1. Perceivable
           1.1 Provide text alternatives for non-text content.
           1.2 Provide captions and other alternatives for multimedia.
           1.3 Create content that can be presented in different ways,
               including by assistive technologies, without losing meaning.
           1.4 Make it easier for users to see and hear content.

        2. Operable
           2.1 Make all functionality available from a keyboard.
           2.2 Give users enough time to read and use content.
           2.3 Do not use content that causes seizures.
           2.4 Help users navigate and find content.

        3. Understandable
           3.1 Make text readable and understandable.
           3.2 Make content appear and operate in predictable ways.
           3.3 Help users avoid and correct mistakes.

        4. Robust
           4.1 Maximize compatibility with current and future user tools.




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  https://www.w3.org/WAI/WCAG20/glance/.

     61. For each guideline, WCAG provides testable success criteria at three levels: Level A,

  Level AA, and Level AAA. For example, the testable success criteria for Principle 1, Guideline

  1, regarding non-text content, such as pictures, controls or buttons, animations, and audio

  recordings, provides:

         Principle 1: Perceivable - Information and user interface components must be
         presentable to users in ways they can perceive.

         Guideline 1.1 Text Alternatives: Provide text alternatives for any non-text content so
         that it can be changed into other forms people need, such as large print, Braille, speech,
         symbols, or simpler language.

         1.1.1 Non-text Content: All non-text content that is presented to the user has a text
         alternative that serves the equivalent purpose, except for the situations listed below.
         (Level A)

            Controls, Input: If non-text content is a control or accepts user input, then it has a
             name that describes its purpose.
            Time-Based Media: If non-text content is time-based media, then text alternatives at
             least provide descriptive identification of the non-text content.
            Test: If non-text content is a test or exercise that would be invalid if presented in text,
             then text alternatives at least provide descriptive identification of the non-text content.
            Sensory: If non-text content is primarily intended to create a specific sensory
             experience, then text alternatives at least provide descriptive identification of the non-
             text content.
            CAPTCHA: If the purpose of non-text content is to confirm that content is being
             accessed by a person rather than a computer, then text alternatives that identify and
             describe the purpose of the non-text content are provided, and alternative forms of
             CAPTCHA using output modes for different types of sensory perception are provided
             to accommodate different disabilities.
            Decoration, Formatting, Invisible: If non-text content is pure decoration, is used
             only for visual formatting, or is not presented to users, then it is implemented in a
             way that it can be ignored by assistive technology.

  https://www.w3.org/TR/WCAG20/.

     62. WCAG 2.0 does not specify particular codes that must be in place to make a website

  accessible. Rather, website developers have flexibility to determine how best to accomplish the

  four principles. Rather, it provides in-depth descriptions, scenarios, educational materials, and



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  practical techniques for meeting the guidelines.

  https://www.w3.org/WAI/WCAG20/quickref/?showtechniques=111#qr-text-equiv-all.

      63. W3C provides a suite of tools and resources for evaluating accessibility of websites.

  https://www.w3.org/WAI/eval/Overview. These include simple checks, an evaluation

  methodology, a guide for involving people with disabilities in evaluations, evaluation approaches

  for specific contexts, web accessibility evaluation tools, and templates for reporting on website

  accessibility.

                   Web Content Accessibility Guidelines Development Process

      64. W3C’s Web Accessibility Initiative (WAI) develops web accessibility standards,

  including WCAG 2.0. WAI’s Accessibility Guidelines Working Group develops web

  accessibility guidelines.

      65. The Accessibility Guidelines Working Group has 129 participants plus 26 invited

  experts. Participants include technology companies, such as Microsoft, Boeing, IBM, Oracle,

  SAP, Adobe, and Google; publishers and educational services, such as Pearson, Educational

  Testing Service, VitalSource, and Thomson Reuters; technology accessibility experts, such as

  SSB Bart Group, Deque Systems, Raising the Floor, and the Paciello Group; and disability

  groups, such as the Royal National Institute of Blind People.

      66. W3C working groups, including the Accessibility Guidelines Working Group, strive to

  make most decisions based on consensus. W3C has a robust process for developing, adopting,

  and publishing technical reports, such as WCAG 2.0. https://www.w3.org/2017/Process-

  20170301/. To advance from one phase to the next, a report must be approved by the Working

  Group and by the Director and must provide public documentation of any substantive changes,




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  must formally address all issues raised in previous phases, and must publicly document any

  formal objections.

     67. Each report goes through a Working Draft phase, in which it is published for wide review

  by W3C members, the public, and other technical organizations. A document is published as a

  Candidate Recommendation after it has been widely reviewed, seeking final reviews and

  implementation experiences from the community. Implementation experience is required to

  show that the standard is sufficiently clear, complete, and relevant.

     68. Thereafter, the report becomes a Proposed Recommendation, at which point the W3C

  Director and W3C Members determine whether the document is of sufficient quality to become a

  W3C Recommendation. A W3C Recommendation receives the endorsement of W3C Members

  and the Director and is recommended for wide deployment as web standards.

     69. WCAG 1.0 was published in 1999. WCAG 2.0, published in 2008, applies to more

  advanced technologies, including mobile technologies; is easier to understand and use; and is

  more testable than WCAG 1.0. When W3C released WCAG 2.0, it also provided extensive

  guidance on moving from WCAG 1.0 compliance to WCAG 2.0 compliance and ensured that

  most websites that conform to WCAG 1.0 would not require significant changes in order to

  conform to WCAG 2.0, and some would not need any changes at all.

     70. W3C has announced that it expects to release WCAG 2.1 in 2018. The primary focus for

  WCAG 2.1 is accessibility requirements for people with low vision and cognitive and learning

  disabilities, and mobile accessibility. https://www.w3.org/WAI/WCAG20/wcag2faq#v21.

     71. WCAG 2.1 is designed to be "backwards compatible" so websites that conform to

  WCAG 2.1 will also conform to WCAG 2.0 — which means that a website that meets WCAG

  2.1 will meet the requirements of policies that reference WCAG 2.0. Therefore, if a court




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  requires a website to comply with WCAG 2.0 and the website developer subsequently decides to

  make the website comply with WCAG 2.1, the website will still satisfy the court’s order.

     72. The current draft proposal for WCAG 2.1 includes the WCAG 2.0 success criteria

  unchanged. In later drafts, the WAI Working Group could modify some WCAG 2.0 success

  criteria “to reduce duplication and increase clarity” and is currently seeking public comment on

  whether to incorporate WCAG 2.0 success criteria unchanged or to modify them to reduce

  duplication and increase clarity.

     73. Even if WCAG 2.1 were to be substantially different from WCAG 2.0, that would not

  undermine a court order requiring compliance with WCAG 2.0. WCAG 2.1 is a voluntary

  standard, and websites are not mandated to upgrade to it. However, if a website is upgraded to

  WCAG 2.1, it will remain compliant with WCAG 2.0.

                         Web Content Accessibility Guidelines Prevalence

     74. The WCAG 2.0 AA standards are widely accepted as providing for full and equal access

  in accordance with federal law. W3C’s Web Accessibility Initiative offers further resources

  including educational materials on web accessibility and working groups to improve the online

  experience for people with disabilities.

     75. WCAG 2.0 AA has been accepted throughout the web industry and has been adopted by

  the federal government as the standard for providing for full and equal access in accordance with

  federal law under the Air Carrier Access Act, 14 U.S.C. § 382.43(c)(1) (“Your primary Web site

  must conform to all Success Criteria and all Conformance Requirements from the World Wide

  Web Consortium (W3C) Recommendation 11 December 2008, Web site Content Accessibility

  Guidelines (WCAG) 2.0 for Level AA…”), and Section 508 of the Rehabilitation Act, 36 C.F.R.

  Part § 1194, Appendix A, E205.4 (“E205.4 Accessibility Standard. Electronic content shall




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  conform to Level A and Level AA Success Criteria and Conformance Requirements in WCAG

  2.0…”).

     76. WCAG 2.0 AA has also been applied as a standard for remedying inaccessible websites

  and other digital technologies under the Americans with Disabilities Act in approximately 25

  settlements by the U.S. Department of Justice and OCR settlements.

     77. Other countries have widely adopted WCAG as their standards for accessibility of digital

  technologies. Countries who have incorporated WCAG 2.0 as their web accessibility standard

  include Canada, Australia, Denmark, European Union, Hong Kong, India, Ireland, Israel, Italy,

  Netherlands, New Zealand, Switzerland, and United Kingdom. In addition, China, France,

  Germany, Norway, and South Korea have adopted derivatives of WCAG 2.0.

     78. Technology companies and other companies have widely adopted WCAG as their

  standard for accessibility of their own websites and other technologies. A few of the companies

  publicly stating their use of WCAG 2.0 as their website accessibility standard include

  Blackboard, Cengage, Cisco, Deloitte, Elsevier, Microsoft, Oracle, and Uber.

     79. State and local governments, such as the County of Hawaii, Orange County, Florida,

  Kansas, Maryland, New York City, and Washington, as well as educational institutions, such as

  Brandeis University, California Polytechnic University, City University of New York, Yale

  University, University of Montana, Penn State, Stanford University, Oregon State University,

  and Ohio State University, have also adopted WCAG 2.0 as the accessibility standard for their

  websites and other technologies.

     80. The NFB uses WCAG 2.0 Level AA as the standard for accessibility of its own website.

  See https://nfb.org/accessibility-policy.




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     81. Many web accessibility consultants are available to assist businesses and others who want

  to make their websites accessible in accordance with WCAG 2.0. See, e.g., https://nfb.org/web-

  accessibility-consultants. In addition, although automated accessibility testing tools need to be

  supplemented with manual checks, there are a variety of testing tools available to check the



     I declare under penalty of perjury that the foregoing is true and correct.



  Executed this 21st day of November, 2017.




                                                        Mark Riccobono
                                                        President
                                                        National Federation of the Blind




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                             Exhibit A
                           To Appendix B




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                                                 Mark A. Riccobono
                                   1720 S CHARLES STREET, BALTIMORE, MARYLAND 21230
                                           410-659-9314; officeofthepresident@nfb.org

PROFESSIONAL EXPERIENCE
2014-Present                 National Federation of the Blind                                                      Baltimore, MD
President

         Develop and implement policies and programs for the blind
         Direct professionals and volunteers in the evaluation, development and usability of technologies by the blind.
         Articulate an authentic understanding of blindness and the barriers faced by blind people.
         Synthesize the priorities and perspectives of a diverse community of blind people into actionable plans.

2014-Present                 American Action Fund for Blind Children and Adults                                    Baltimore, MD
Director of Education

         Develop and implement programs to assist blind children and adults.
         Develop partnerships to advance the organization’s missions.
         Research innovative approaches to enhancing services for blind children and adults.

2007-2014                        National Federation of the Blind                                               Baltimore, MD
Executive Director, Jernigan Institute
     Developed strategic partnerships to execute innovative education, rehabilitation, technology, research, and outreach
          projects to help the world’s blind achieve independence.
     Raised and administered multi-million dollar budget.
     Developed and led a team of world-class experts in the education and rehabilitation of the blind.

2003-2007                        National Federation of the Blind                                                  Baltimore, MD
Director of Education, Jernigan Institute
      Identified, developed, and directed educational programs for the NFB Jernigan Institute, including:
                o National Center for Blind Youth in Science
                o National Literary Braille Competency Test
                o NFB Online Education Program
      Built partnerships to develop innovative educational programs for blind youth.

2000–2003                    Wisconsin Center for the Blind & Visually Impaired                                      Janesville, WI
Center Director

         Directed activities of state agency with ninety employees and $6.1 million budget.
         Ensured quality training and service provision in accordance with state and federal statutes.
         Built partnerships with consumers, families, school districts, legislators, community leaders, and
          others to create innovative opportunities and collaboration.

EDUCATION
2005–2009                Johns Hopkins University                                                                  Baltimore, MD
                         Master of Science—Educational Studies


1994–1999                University of Wisconsin                                                                     Madison, WI
                         Bachelor in Business Administration
                         Majors in marketing and economics with a specialization in international business




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    APPOINTED POSITIONS
    Federal Commission on Accessible Instructional Materials (AIM) in Postsecondary
    Education (2011) Wisconsin State Plan Committee for the Implementation of the Help
    America Vote Act (2003) Wisconsin State Superintendent’s Blind and Visual Impairment
    Education Council (2000)
    Wisconsin Statutory Council On Blindness (1999-
    2002) Madison Commission on People With
    Disabilities (1999)




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                                        Appendix C
                               DECLARATION OF AARON CANNON


             I, Aaron Cannon, on oath, declare that I have personal knowledge of the facts in

     this declaration and if called as a witness in this matter, I would testify as follows:


             1.     I am a website developer and have been working in the field of website

     accessibility professionally since 2007. I led the design for user experience on the

     National Industries for the Blind’s 75th anniversary website (http://www.nib.org/75th-

     anniversary). I have been engaged in website development generally since 1996. I am

     totally blind and have been using assistive technology, including screen readers, since

     1988.

             2.     I am the Lead Accessibility Engineer and Co-Founder of Accessible360

     (“A360”). A360 consults with businesses on how to make their websites and other

     digital content accessible to people with disabilities. A360 engages in live-user audits

     of sites, applications and documents to help businesses assess issues which may pose

     impediments to accessibility. A360 then assists businesses with a plan of

     implementing the Web Content Accessibility Guidelines (“WCAG”) 2.0 AA standard.

     Following a business’s implementation of accessibility features that comply with

     WCAG 2.0 AA, A360 engages in quality assurance testing, ongoing technical support

     and live-user monitoring to help that business remain compliant with WCAG 2.0 AA.

             3.     In my work as an Accessibility Engineer, I have overseen, or am in the

     process of overseeing, approximately 75 projects involving the implementation of the

     WCAG 2.0 AA standard on websites.



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            4.      The World Wide Web Consortium (W3C) is an international standards

     body which promulgates the vast majority of all technical standards governing the

     World Wide Web. One of these standards is WCAG. Version 2.0 is the most recently

     published. The guidelines can be found on the web at

     http://www.w3.org/TR/WCAG20/. WCAG 2.0 was formally published in 2008 and

     was approved as an international standard by the International Organization for

     Standardization (ISO) and the International Electrotechnical Commission (IEC) in

     2012. See https://www.w3.org/2012/07/wcag2pas-pr.html. It has been required by law

     in a variety of jurisdictions, including Australia, Canada, the European Union. See

     https://www.w3.org/2012/07/wcag2pas-pr.html. More recently, the United States

     Access Board, in its revised standards for federal agencies covered by Section 508 of

     the Rehabilitation Act, has adopted WCAG 2.0. See https://www.access-

     board.gov/guidelines-and- standards/communications-and-it/about-the-ict-

     refresh/overview-of-the-final-rule.

            5.      WCAG 2.0 has received near universal acceptance by professionals

     working in the web accessibility and disability fields, as well as by advocacy

     organizations representing the blind, and other related groups. I am unaware of the

     existence of any current competing standards.

            6.      The WCAG has three levels of compliance: A, AA, and AAA. Level A

     offers the lowest level of accessibility, and AAA offers the highest. However, the

     WCAG standard warns: “It is not recommended that Level AAA conformance be

     required as a general policy for entire sites because it is not possible to satisfy all Level

     AAA Success Criteria for some content.” In practice, level AAA compliance is almost




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     never attempted or reached, except in rare circumstances, as it is extremely difficult to

     achieve, and does not substantially benefit most disabled users – particularly users who

     are blind. The general consensus of experts is that Level AA is the appropriate level for

     the vast majority of organizations to pursue, and all laws which I am aware of require

     this level as well, including the refreshed Section 508 agency guidelines.

            7.      In September 2017, Blick Art Materials, LLC (“Blick”) hired A360 to

     assist Blick i n auditing its site and developing a plan to bring the site into substantial

     compliance with WCAG 2.0 AA. This work is currently underway. Blick’s site now

     contains an accessibility statement, and the toll free number on Blick’s site is readable

     by the use of screen reader software, including Jaws For Windows (a non-free

     commercial product), and non-visual desktop access (“NVDA,” which is freely available

     to anyone at no cost). It is my opinion that these two screen readers make up the vast

     majority of all screen reader use in the United States, and the world. It is also my

     opinion that, based on how the phone number is implemented on the site, it can be easily

     read by any user of any modern general purpose screen reader.

            8.      In its audit process, which is unfolding now and will continue over the

     next several months, A360 will identify the issues with Blick’s site that may impede

     accessibility for users of screen reader technology. A360 will then assist Blick in

     developing a plan of implementation that will prioritize accessibility issues and allow

     Blick’s websites to become substantially compliant with the WCAG 2.0 AA standard.

     A360 will provide technical support and training to Blick on an as-needed basis. After

     implementation, A360 will re-assess Blick’s site using live-user accessibility quality

     assurance testing to confirm that the site is usable by affected audiences, including




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     people who are blind, visually impaired, deaf, hearing impaired, or have other physical

     disabilities. Thereafter, A360 will monitor Blick’s site to help ensure that it remains

     accessible and continues to follow and implement accessible design best practices.


                  9. Given the number of issues A360 has already found on the

      http://www.dickblick.com site, coupled with the size and complexity of the site, and the

      number of products on offer there, it is my opinion and experience that two years is a

      reasonable and not uncommon amount of time to bring this site into substantial

      compliance with the WCAG 2.0 AA standard. The audit process is underway, but

      based on information currently available, I believe Blick will be able to achieve this

      goal by December 31, 2019. During this period, I believe Blick’s toll free number will

      remain accessible to visually impaired people via screen reader technology.

            10.     It is likely that users of the Blick website will see a major improvement

     in the accessibility of the site much sooner than the two year deadline. Part of the

     service that A360 provides to all its clients is helping them to identify the most critical

     issues, so they can address them first. We refer to these issues as “blockers,” because

     they can block a large number of disabled users from completing tasks on the site.

     Once the blockers are addressed, A360 clients can then move on to fixing the rest of

     the issues that, while they may pose an inconvenience to disabled users, should not

     prevent them from using the major functions of the site. Rarely can a business update

     its site’s accessibility all at once. It is much more common to implement these changes

     piecemeal because it gives the organization a chance to better gauge the impact of the

     changes, as well as helping the organization deliver incremental improvements to its

     customers sooner than would otherwise be possible.




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           I declare under penalty of perjury the foregoing is true and correct.




        Dated: November 22, 2017
                                                             Aaron Cannon




                                                66
